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     ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                      Nos. 24-1113, 24-1130, 24-1183
                ________________________________________
             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT
               ________________________________________

                   TIKTOK INC. and BYTEDANCE LTD.,
                                               Petitioners,
                                       v.

             MERRICK B. GARLAND, in his official capacity as
                 Attorney General of the United States,
                                               Respondent.

                             (caption continued)
                ________________________________________

 On Petitions for Review of the Protecting Americans from Foreign Adversary
                         Controlled Applications Act
                ________________________________________

  NOTICE OF INTENT TO PARTICIPATE AS AMICUS CURIAE FOR
   AMERICAN FREE ENTERPRISE CHAMBER OF COMMERCE
                IN SUPPORT OF RESPONDENT
           ________________________________________

William P. Barr                        Jonathan Berry
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USCA Case #24-1113   Document #2068117     Filed: 08/02/2024   Page 2 of 5



             ________________________________________

                      BRIAN FIREBAUGH et al.,
                                          Petitioners,
                                  v.

           MERRICK B. GARLAND, in his official capacity as
               Attorney General of the United States,
                                         Respondent.
             ________________________________________

                       BASED POLITICS, INC.,
                                          Petitioners,
                                  v.

           MERRICK B. GARLAND, in his official capacity as
               Attorney General of the United States,
                                         Respondent.
             ________________________________________
USCA Case #24-1113       Document #2068117          Filed: 08/02/2024    Page 3 of 5



              NOTICE OF INTENT TO FILE AMICUS BRIEF

      Pursuant to Federal Rule of Appellate Procedure 29(a) and Circuit Rule

29(b), American Free Enterprise Chamber of Commerce represents that it

intends to participate in this case as amicus curiae. Petitioners and Respondent

consent to the filing of this amicus brief.


Dated: August 2, 2024                     Respectfully submitted,

                                          /s/ Jared M. Kelson
William P. Barr                           Jonathan Berry
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                        DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C. Circuit

Rules 26.1 and 29(b), I hereby certify that Amicus Curiae American Free

Enterprise Chamber of Commerce is a not-for-profit entity organized consistent

with I.R.C. § 501(c)(6). It has no parent corporation, and no publicly held

company has a 10% or greater ownership interest.


Dated: August 2, 2024                  /s/ Jared M. Kelson
                                       Jared M. Kelson

                                       Counsel for American Free Enterprise
                                       Chamber of Commerce




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                        CERTIFICATE OF SERVICE

      I hereby certify that on August 2, 2024, I electronically filed the foregoing

with the Clerk of the Court for the United States Court of Appeals for the District

of Columbia Circuit by using the CM/ECF system, which will serve all parties

automatically.


Dated: August 2, 2024                    /s/ Jared M. Kelson
                                         Jared M. Kelson

                                         Counsel for American Free Enterprise
                                         Chamber of Commerce




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